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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION



UNITED STATES OF AMERICA                      )
                                              )
                                              )   Case No. 1:08CR00024-035
                                              )
v.                                            )
                                              )        OPINION
MARTIN AVERY HUGHES,                          )
                                              )   By: James P. Jones
              Defendant.                      )   United States District Judge


      Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia,
for United States; Martin Avery Hughes, Pro Se Defendant.

        The defendant, a federal inmate, brings this Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C.A. § 2255 (West Supp. 2010), alleging

ineffective assistance of counsel, an involuntary guilty plea, prosecutorial

misconduct, and sentencing error. Upon review of the record, I find that the

defendant’s motion must be denied.



                                          I

        A grand jury of this court returned a multi-count Indictment on May 28, 2008,

charging that Martin Avery Hughes and fifty others conspired to distribute 50 grams

or more of cocaine base and 500 grams or more of cocaine, in violation of 21

U.S.C.A. §§ 841(a)(1), 841(b)(1)(A), and 846 (West 1999 & Supp. 2010) (Count

One). The government filed an Information pursuant to 21 U.S.C.A. § 851 (West

1999) on June 27, 2008, seeking to enhance Hughes’ sentence based on his prior
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felony drug convictions. Hughes reached a plea bargain with the government, and

on October 27, 2008, he pleaded guilty pursuant to a written Plea Agreement. As part

of the agreement, Hughes waived his right to appeal and to collaterally attack his

conviction and sentence. He also stipulated that he had been convicted in Bristol,

Virginia, in 1997 of possession with intent to distribute cocaine and that his prior

felony convictions qualified him for a Career Offender enhancement under United

States Sentencing Manual (“USSG”) § 4B1.1. In exchange for the guilty plea, the

government agreed to dismiss two additional prior convictions from the § 851

Information, which otherwise would have subjected Hughes to a mandatory life

sentence pursuant to 21 U.S.C.A. § 841(b)(1)(A), and to recommend that he receive

a reduction of two, and possibly three, offense levels under the advisory Sentencing

Guidelines, based on his acceptance of responsibility.

      After his guilty plea, Hughes learned that some of the government’s witnesses

in the case had recanted their prior testimony. He moved for appointment of a new

attorney and sought to withdraw his guilty plea. The government then filed a Notice

of Intent to Seek Remedies based on this violation of Hughes’ Plea Agreement. After

conferring with counsel, Hughes moved for withdrawal of his pro se motion to

withdraw his guilty plea. I granted this motion, and denied Hughes’ request for new

counsel.

      A sentencing hearing was held on March 2, 2009.                The Presentence

Investigation Report (“PSR”) determined that Hughes should be held accountable for

at least 50 grams of cocaine base, giving him a Base Offense Level of 30, adjusted

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to 37 because of his status as a Career Offender. With a three-level reduction for

acceptance of responsibility, the PSR calculated Hughes’ Total Offense Level at 34.

Because of Hughes’ Career Offender status, the PSR assigned him Criminal History

Category VI, giving him a sentencing range of 262 to 327 months of imprisonment.

I sentenced Hughes at the bottom of that range, with the term of imprisonment to run

concurrently with a prior state sentence of imprisonment and to be followed by five

years of supervised release. Hughes did not appeal.1

       Hughes filed this timely § 2255 motion, alleging that his attorney had been

ineffective by failing to adequately investigate and prepare the case, by allowing him

to plea guilty, and by not challenging the drug weight attributed to him. He also

claims that his sentence is illegal for various reasons, and the government used

perjured evidence against him to obtain the Indictment and conviction.2


       1
          Hughes filed several post-judgment motions, seeking to dismiss the indictment,
compel discovery, obtain free transcripts, and withdraw his guilty plea. I denied these
motions by order entered March 3, 2010, and the United States Court of Appeals for the Fourth
Circuit dismissed his appeal in part and affirmed in part. United States v. Hughes, No. 10-
6417, 2010 WL 4386867 (4th Cir. Nov. 4, 2010) (unpublished).

       In November 2009, Hughes filed a motion styled as “Application for Writ of Habeas
Corpus under Title 28 U.S.C. 2255,” but later informed the court by letter that he did not
intend this submission to be considered as a § 2255 motion. By order entered February 4,
2010, I dismissed the motion without prejudice.
       2
         Hughes also alleges, for the first time in his response to the Motion to Dismiss, that
after sentencing, he tried to contact counsel “to [discuss] appeal offered by court of court[’s]
decision,” but received no response. He thus faults counsel for failing to consult with him
about the possibility of appealing his sentence.

        To the extent that Hughes intended these allegations in his response to amend his
§ 2255 motion, I must deny the amendment. A person convicted of a federal offense has one
year to file a § 2255 motion, pursuant to 28 U.S.C.A. § 2255(f). An amendment to a pending
§ 2255 motion, like an initial § 2255 motion itself, is subject to the one-year statute of

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       The government has filed a Motion to Dismiss, arguing that all claims must be

dismissed as waived, pursuant to the Plea Agreement provision which waived the

right to bring a collateral attack. Hughes has responded, making the matter ripe for

disposition.



                                              II

                   A. PLEA AGREEMENT WAIVER OF § 2255 RIGHTS.

       It is settled circuit law that a “criminal defendant may waive his right to attack

his conviction and sentence collaterally, so long as the waiver is knowing and

voluntary.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005). Whether


limitations set forth in § 2255(f), unless the amendment relates back to a timely raised claim,
pursuant to Rule 15(c) of the Federal Rules of Civil Procedure. Mayle v. Felix, 545 U.S.
644, 664 (2005). “Rule 15(c)(2) relaxes, but does not obliterate, the statute of limitations;
hence relation back depends on the existence of a common ‘core of operative facts’ uniting
the original and newly asserted claims.” Id. at 659.

        Judgment in Hughes’ case was entered on March 3, 2009, and the conviction became
final for purposes of § 2255(f)(1) on March 17, 2009. See Fed. R. App. P. 4(b) (2009)
(requiring defendant’s notice of appeal from criminal judgment to be filed within ten days
after entry of judgment). He then had until March 17, 2010, in which to file a timely motion
under § 2255. He filed his initial § 2255 motion on February 28, 2010, within the one-year
filing limit, but did not present his claim that counsel failed to consult with him about an
appeal. This claim was first raised in his response, signed and dated on July 1, 2010. Clearly,
this claim was not raised within one year of March 17, 2009, when the conviction became
final. Accordingly, the amendment is untimely under § 2255(f).

       Hughes does not allege any facts indicating that his one-year filing period could be
calculated under any of the other subsections of § 2255(f). Likewise, he does not state any
reason that he could not have included in his initial § 2255 motion this claim of ineffective
assistance regarding an appeal. Finally, the untimely filed claim does not relate back to a
core of common operative facts related to any timely filed claim, as required for relation back
under Rule 15(c). See Mayle, 545 U.S. at 659. For these reasons, I will not consider the
merits of Hughes’ claim that counsel was ineffective in failing to consult with him about an
appeal.

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the waiver is intelligent and voluntary depends “‘upon the particular facts and

circumstances surrounding that case, including the background, experience and

conduct of the accused.’” United States v. Davis, 954 F.2d 182, 186 (4th Cir. 1992)

(quoting Johnson v. Zerbst, 304 U.S. 458, 464 (1938)). When a defendant alleges

that ineffective assistance of counsel caused the guilty plea itself to be unknowing or

involuntary, analysis of such claims must be part of the court’s inquiry into the

validity of the guilty plea and the plea agreement waiver of § 2255 rights. See, e.g.,

Lemaster, 403 F.3d at 221-22.

      The court’s waiver analysis must focus first on the defendant’s statements

during the plea hearing. “[I]n the absence of extraordinary circumstances, the truth

of sworn statements made during a Rule 11 colloquy is conclusively established, and

a district court should . . . dismiss any § 2255 motion that necessarily relies on

allegations that contradict the sworn statements.” Lemaster, 403 F.3d at 221-22. If

the court determines that the defendant’s allegations, viewed against the record of the

Rule 11 plea hearing, are so “palpably incredible, so patently frivolous or false as to

warrant summary dismissal,” the court may dismiss the § 2255 motion without a

hearing. Id. at 220 (internal quotation marks and citations omitted).

                  B. HUGHES’ VALID GUILTY PLEA AND WAIVER.

      Before accepting Hughes’ guilty plea, I questioned him thoroughly to ensure

that his plea was knowing and voluntary. Hughes stated that he was 37 years old and

had received his GED. He denied that he had ever been treated for mental illness and

confirmed that he was not under the influence of medication or alcohol. When I

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asked Hughes if had received or seen a copy of the Indictment, he answered in the

negative, although he admitted that he had discussed it with counsel. The prosecutor

provided Hughes with a copy of the Indictment, and I advised Hughes to go over it

with counsel, and adjourned his hearing temporality while he did so.

      When I later asked Hughes if he had had an adequate opportunity to discuss the

charges and his case in general with his lawyer, the following colloquy transpired:

            HUGHES:                   We’ve discussed it. I think we could
                                      have went over some more things about
                                      it.

            THE COURT:                Okay.

            HUGHES:                   But we have discussed it to length.

            THE COURT:                Well, here’s the deal, Mr. Hughes. I’m
                                      not going to accept your guilty plea
                                      until I’m satisfied that you’re making a
                                      plea that’s, you know, fully – with full
                                      knowledge. In other words, you have
                                      to be fully satisfied that you’ve thought
                                      about everything, that you’ve
                                      considered the advice that your
                                      attorney has given you, that you’ve
                                      asked any questions that you have,
                                      before I can accept your guilty plea;
                                      because otherwise, I could not in good
                                      faith accept a plea from someone who
                                      had some question about their
                                      situation.

                                      So would you like to have a seat with
                                      your attorney, and I’ll give you an
                                      opportunity to ask him any further
                                      questions that you have.

            HUGHES:                   Yes, I’d like an opportunity to speak
                                      with my attorney, please.

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              THE COURT:                  All right. Very good.


(Plea Tr. 12-13, Oct. 27, 2008, ECF No. 2564.)

       A short time later, counsel advised me that Hughes was ready to proceed. I

reminded Hughes that he had already been sworn to tell the truth and then advised

him that it was important for him to fully understand the questions and to advise the

court if he did not understand any question and needed to talk to his attorney. Hughes

then affirmed that he had had adequate time to review the Indictment, and to discuss

it, his case in general, and the Plea Agreement, with his attorney. He said that he had

initialed each page of the Plea Agreement and signed it, indicating that he had read

and understood its terms. The prosecutor then summarized the terms of the Plea

Agreement, and Hughes stated that he understood and agreed to those terms.3

       I specifically asked Hughes if he understood the provisions waiving his right

to bring a collateral attack:

              THE COURT:                  Do you also understand that under the
                                          plea agreement[ ], you waive or give up
                                          your right to collaterally attack your
                                          sentence, meaning that you could not at
                                          a later time file a motion or petition



       3
          As part of this summary, the prosecutor advised Hughes that by signing the Plea
Agreement, he was indicating his intention to plead guilty because he was guilty and because
he believed the guilty plea was in his best interests, and not because of any threats or
promises. The prosecutor also advised Hughes that by accepting the Plea Agreement, he was
indicating his full satisfaction with the representation provided by counsel. The summary
also advised Hughes that under the agreement he faced a statutory mandatory minimum
sentence of 20 years, and that he had stipulated to Career Offender status and a base offense
level of 37.

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                                        seeking to have your sentence set
                                        aside? Do you understand that? . . . .

             HUGHES:                    Yes, sir.

(Plea Tr., 15-16, Oct. 27, 2008, ECF No. 2290.) Hughes denied that anyone had

made any promise to him outside the Plea Agreement that caused him to want to

plead guilty or that anyone had attempted to force him to plead guilty.

      I advised Hughes of the maximum and statutory mandatory minimum sentences

he faced, reviewed the rights he was waiving by pleading guilty, and explained in

detail the elements of the charge that the government would have to prove if he went

to trial. I specifically advised him that by pleading guilty, he was giving up his right

to plead not guilty and his right to a trial by jury, during which he would be presumed

innocent until proven guilty beyond a reasonable doubt and would have a right to

confront the witnesses against him. He indicated that he understood that he was

waiving these rights. When asked if he was pleading guilty because he was, in fact,

guilty, Hughes answered, “Yes.” (Id. at 22.) After the prosecutor offered a summary

of the evidence in support of the plea, I asked Hughes, “[D]o you dispute or contest

any of those facts?” Hughes answered, “No, sir,” and went on to plead guilty to

Count One. (Id. at 25-26.)

      Hughes’ statements during the guilty plea colloquy offered no indication that

Hughes was not competent to enter a valid guilty plea, that he did not understand the

proceedings, or that he was not voluntarily pleading guilty. I find now, as I did at the




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plea hearing, that Hughes’ guilty plea and the waiver of his right to bring this

collateral attack under § 2255 were knowing and voluntary and therefore, valid.

                      C. CLAIMS OF INEFFECTIVE ASSISTANCE.

      To prove that counsel’s representation was so defective as to require reversal

of the conviction or sentence, a defendant must meet a two-prong standard, showing

that counsel’s defective performance resulted in prejudice. Strickland v. Washington,

466 U.S. 668, 687 (1984).         First, the defendant must show that “counsel’s

representation fell below an objective standard of reasonableness.” Id. at 687-88.

Second, to show prejudice, the defendant must demonstrate a “reasonable probability”

that but for counsel’s errors, the outcome would have been different. Id. at 694-95.

When the defendant alleges that counsel’s error led him to enter an invalid guilty

plea, he can show prejudice only by demonstrating “a reasonable probability that, but

for counsel’s errors, he would not have pleaded guilty and would have insisted on

going to trial.” Hill v. Lockhart, 474 U.S. 52, 58-59 (1985).

      Several of Hughes’ claims allege that because of errors by his attorney, his

guilty plea was not knowing or voluntary. These claims, however, are based on

assertions which are directly contradicted by Hughes’ statements under oath during

the guilty plea hearing. His assertions about counsel’s representation before the

guilty plea — that counsel promised, but did not file certain pretrial motions, filed the

Plea Agreement without Hughes’ permission, and told him that he could withdraw the

plea before sentencing and still try to prove his innocence — are directly contradicted

by Hughes’ plea hearing statements to the court. During this hearing, Hughes had

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opportunity to advise the court of any aspect of the Indictment, the prosecution’s

case, the Plea Agreement, or the sentencing process that he did not understand, and

of any dissatisfaction he had with counsel’s representation. Yet, under oath, Hughes

indicated that he fully understood the charge and the terms and consequences of the

Plea Agreement, that he did not dispute the government’s case against him, that he

had no questions of the court, and that he was pleading guilty.

      Based on the foregoing, I find that Hughes’ claims of ineffective assistance

leading to his guilty plea are so “palpably incredible” as to warrant summary

dismissal, because they are based on assertions directly contradicted by his statements

during the guilty plea hearing. Lemaster, 403 F.3d at 220-22. Furthermore, Hughes’

claims that counsel provided ineffective assistance at sentencing have no bearing on

the validity of his guilty plea and his Plea Agreement waiver of collateral attack

rights. Because Hughes fails to demonstrate any ground on which that waiver is

invalid, he is bound by the waiver.

      Furthermore, Hughes offers no evidence on which he could prove that

counsel’s representation before the guilty plea was either deficient or prejudicial.

Hill, 474 U.S. at 58-59. He has not presented any evidence suggesting that counsel

acted unreasonably when he advised Hughes to accept the Plea Agreement as the best

available option to limit his sentence exposure under the circumstances at the time of

the plea. I also find no reasonable probability that absent counsel’s alleged errors,

Hughes would have rejected the Plea Agreement and insisted on going to trial.

Hughes fails to present any information that counsel would have uncovered through

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additional investigation or pretrial discovery motions which would have increased

Hughes’ chances of success at trial, given the extent of the government’s evidence

against him. On the other hand, by entering into the Plea Agreement, Hughes avoided

the mandatory life sentence to which he would have been subject if convicted after

a trial, based on his prior drug felony convictions, and achieved a further reduction

in his offense level, based on his acceptance of responsibility.

      Hughes also fails to present a reasonable probability that any different

argument or evidence counsel could have presented at sentencing would have resulted

in a lighter sentence than the one Hughes received. Strickland, 466 U.S. at 687. The

PSR calculated his guideline range, using the amount of cocaine base charged in the

Indictment to which he pleaded guilty, and applying the Career Offender guideline

to which he stipulated in the Plea Agreement. I sentenced him at the bottom of that

sentencing range. Thus, Hughes received the sentence for which he bargained in the

Plea Agreement.

                               D. REMAINING CLAIMS.

      Hughes claims alleging court error and prosecutorial misconduct, are waived

by Hughes’ valid Plea Agreement waiver of his right to bring a § 2255 action.4

Lemaster, 403 F.3d at 220.        Hughes appears to believe that because certain

government witnesses from the multi-defendant case recanted their grand jury

testimony, the Indictment itself is rendered suspect and should have been dismissed,

      4
           Moreover, because Hughes could have raised these claims on direct appeal, they
are also procedurally barred from review under § 2255. Bousley v. United States, 523 U.S.
614, 622 (1998).

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and his guilty plea and waiver are thus automatically invalid. He is mistaken.

Testing the credibility of the government’s witnesses at trial was one of the rights that

Hughes voluntarily waived when he entered into the Plea Agreement to escape a life

sentence. The witnesses’ recantations occurred after Hughes entered his guilty plea

and thus had no bearing on the circumstances under which he bargained for the

benefits of the agreement in exchange for admitting his guilt in open court.5 He

cannot now “disown his solemn admissions in open court,” accepting a finding of

guilt for the crimes charged, “simply because it later develop[ed] that the

[prosecution] would have had a weaker case than [he] had thought.” Brady v. United

States, 397 U.S. 742, 757 (1970).



                                            IV

       In conclusion, I am of the opinion that the Motion to Dismiss must be granted

and relief denied, based on the defendant’s valid Plea Agreement waiver of the right

to collaterally attack the judgment.        Alternatively, I find that his claims are

procedurally barred or without merit. A separate Final Order will be entered

herewith.




       5
            In any event, in other proceedings, I found that the witnesses’ prior testimony,
implicating codefendants in the drug conspiracy, was more credible than their recantations
of that testimony. See, e.g., United States v. Duty, No. 1:08CR00024, 2009 WL 2424347
(W.D. Va. Aug. 6, 2009); United States v. Baumgardner, No. 1:08CR00024, 2009 WL
2424334 (W.D. Va. Aug. 6, 2009); see also United States v. Vaughn, No. 1:08CR00024,
2009 WL 2762159 (W.D. Va. Aug. 27, 2009) (denying motion to withdraw guilty plea);
United States v. Evans, 635 F. Supp. 2d 455, 464 (W.D. Va. 2009) (same).

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                                           DATED: January 20, 2011


                                           /s/ JAMES P. JONES
                                           United States District Judge




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